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 1   PHILLIP A. TALBERT
     United States Attorney
 2   ROGER YANG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              2:15-CR-00185-TLN
12                   Plaintiff,
                                                            FINAL ORDER OF FORFEITURE
13           v.
14   LESLIE LEON LEGGETT, II, and
     SHARICE MONIQUE WILLIAMS,
15
                    Defendants.
16

17           On May 12, 2017 (Sharice Monique Williams) and June 16, 2017 (Leslie Leon Leggett, II), this

18 Court entered a Preliminary Orders of Forfeiture pursuant to the provisions of 18 U.S.C. §§ 492,

19 982(a)(2)(B) and 28 U.S.C. § 2461(c), based upon the plea agreements entered into between plaintiff
20 and defendants Sharice Monique Williams and Leslie Leon Leggett, II, forfeiting to the United States

21 the following property:

22                   a. Approximately 129 counterfeit $100 bills;
                     b. Hewlett-Packard Presario CQ50 laptop computer, serial number 2CE8387HW9, with
23                      power cord; and
                     c. Card Reader/Encoder, model number MSR606.
24

25           Beginning on May 14, 2017 (Sharice Monique Williams) and June 2, 2017 (Leslie Leon Leggett,

26 II), for at least 30 consecutive days, the United States published notice of the Court’s Orders of

27 Forfeiture on the official internet government forfeiture site www.forfeiture.gov. Said published notice

28 advised all third parties of their right to petition the Court within sixty (60) days from the first day of
                                                            1
29                                                                                        Final Order of Forfeiture

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 1 publication of the notice for a hearing to adjudicate the validity of their alleged legal interest in the

 2 forfeited property;

 3          The Court has been advised that no third party has filed a claim to the subject property, and the

 4 time for any person or entity to file a claim has expired.

 5          Accordingly, it is hereby ORDERED and ADJUDGED:

 6          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 7 right, title, and interest in the above-listed property pursuant to 18 U.S.C. §§ 492, 982(a)(2)(B) and 28

 8 U.S.C. § 2461(c), to be disposed of according to law, including all right, title, and interests of Sharice
 9 Monique Williams and Leslie Leon Leggett, II.

10          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

11 United States of America.

12          3.       The U.S. Secret Service shall maintain custody of and control over the subject property

13 until it is disposed of according to law.

14          SO ORDERED this 21st day of September, 2017.

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                                                                          Troy L. Nunley
18                                                                        United States District Judge

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29                                                                                         Final Order of Forfeiture

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